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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


FEDERAL TRADE COMMISSION,

                             Plaintiff,
                                                           Case No. 3:19-cv-02281-K
       vs.

MATCH GROUP, INC., a corporation, and
MATCH GROUP, LLC, formerly known as
MATCH.COM, LLC, a limited liability
company,
                        Defendants.




                                    [PROPOSED] ORDER

       Upon consideration of Defendants Match Group, Inc. (“MGI”) and Match Group, LLC’s

(“MGL”) Unopposed Motion to Withdraw David Y. Sillers and Anna Tutundjian as Counsel (the

“Motion”), it is hereby ORDERED that the Motion is GRANTED in its entirety. It is ORDERED

that David Y. Sillers and Anna Tutundjian are withdrawn as counsel of record for Defendants MGI

and MGL. The Clerk’s Office is directed to terminate all CM/ECF notifications to David Y. Sillers

and Anna Tutundjian for this action.



On this ___ day of ___________, 2022.




                                            Honorable Ed Kinkeade
                                            United States District Judge
